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UNITED STATES DISTRICT COURT                         DATE FILED: 11/23/2020
SOUTHERN DISTRICT OF NEW YORK
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 DGI-BNSF CORP.,                                                :
                                                                :
                                              Plaintiff,        :
                                                                :       18-CV-3252 (VEC)
                            -against-                           :
                                                                :            ORDER
 TRT LEASECO, LLC,                                              :
                                                                :
                                              Defendant. :
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VALERIE CAPRONI, United States District Judge:

        WHEREAS a bench trial in this matter was conducted between Monday, November 16,

2020 and Friday, November 20, 2020; and

        WHEREAS the trial has not yet concluded;

        IT IS HEREBY ORDERED that the trial will re-commence on Monday, November 30,

2020, at 10:00 A.M. using the Trail Graphix platform.

        IT IS FURTHER ORDERED that if the parties reach a resolution of this matter they must

promptly notify Chambers.

        IT IS FURTHER ORDERED that any interested members of the public may listen to the

proceeding remotely by dialing 1-703-552-8058 and using conference code 416587. Recording

the trial is strictly prohibited.



SO ORDERED.
                                                              _________________________________
Date: November 23, 2020                                             VALERIE CAPRONI
      New York, New York                                            United States District Judge
